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11   and the Putative Classes

12                                 UNITED STATES DISTRICT COURT
13                                         DISTRICT OF NEVADA
14
     LINDA LEE SIPPLE, ON BEHALF OF                           Case No. 2:21-cv-00904-GMN-NJK
15   HERSELF AND ALL OTHERS SIMILARLY
     SITUATED                                                 AMENDED STIPLATION AND ORDER
16                                                            TO EXTEND DEADLINES IN
                            Plaintiff,                        SCHEDULING ORDER
17

18   v.                                                       [FIRST REQUEST]

19   ZIONS BANCORPORATION, N.A.,
20                          Defendant.
21

22          Plaintiff Linda Lee Sipple (“Sipple”) and defendant Zions Bancorporation, N.A. (“Zions”),
23   by and through their undersigned attorneys, hereby stipulate and agree as follows:
24          1.      The Court entered its Scheduling Order on September 9, 2021, setting, in relevant part,
25   March 1, 2022, as the deadline for Plaintiff to file her motion for class certification. Dkt. No. 29.
26          2.      The Parties have been actively engaged in discovery since the Court’s entry of the
27   Scheduling Order.
28
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 1   Statement of Discovery Completed:
 2          3.      The Parties each served initial disclosures.
 3          4.      Plaintiff served her First Set of Request for Production of Documents and First Set of
 4   Interrogatories on Zions on September 1, 2021.
 5          5.      Zions served its written responses and objections to Plaintiff’s discovery requests on
 6   October 29, 2021. The Parties met and conferred regarding these responses on numerous occasions,
 7   including via telephone on November 11, 2021, via e-mail on December 8 and 10, 2021, via letter on
 8   January 13, 2022, and continuing thereafter.
 9          6.      The Parties have negotiated a Stipulation and Order Regarding Production of Hard
10   Copy Documents and Electronically Stored Information (“ESI Protocol”), as well as a Stipulated
11   Protective Order (“Protective Order”), to facilitate Zion’s document production in response to
12   Plaintiff’s document requests. The ESI Protocol and Protective Order were entered by the Court on
13   December 3, 2021. Dkt Nos. 38, 39.
14          7.      Zions has made document productions consisting of account statements and contracts
15   in response to certain of Plaintiff’s document request. To date, Zions has produced a total of 185
16   documents totaling 1,221 pages.
17   Description of Discovery That Remains to Be Completed:
18          8.      Though Plaintiff has requested, and Zions has agreed to produce, certain back-end
19   transactional data, Zions has not yet produced this data. This back-end transactional data has not yet
20   been produced because it is voluminous and because Zions has required additional time to export it
21   from its core processing system. The transactional data will be used by Plaintiff’s expert in support of
22   class certification to demonstrate that the class is ascertainable and damages can be calculated on a
23   class-wide basis. Zions, in contrast, expects this data to support a number of its defenses and to
24   demonstrate the case is not appropriate for class certification.
25          9.      Though Plaintiff has requested, and Zions has agreed to produce, ESI pursuant to the
26   Parties’ stipulated ESI Protocol, not all requested ESI has been produced to date, and the production
27   of ESI thus far has been related to iterations of the relevant fee disclosures and cardholder agreements
28   for Zions’s divisions. Though the Parties have been working diligently to agree on custodians and

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 1   search terms, the ESI process is lengthy and negotiating the parameters of the search requires
 2   additional time.
 3          10.     Though Plaintiff has requested, and Zions has agreed, to supplement its interrogatory
 4   responses and already provided certain supplemental responses at this time, it has not completed its
 5   supplement regarding to the transactional data, in part because these supplemental responses require
 6   an examination of the back-end transactional data discussed above.
 7          11.     No depositions have been conducted. Plaintiff is unable to notice and take depositions
 8   until the aforementioned data and ESI is produced. Taking the deposition now, without a complete
 9   document production, will result in duplicative depositions, which both Parties agree is inefficient.
10   The Reasons Why the Deadline Was Not Satisfied:
11          12.     Though the Parties have been working diligently and cooperatively to work through
12   any potential discovery disputes, the Parties require additional time to complete discovery.
13          13.     Specifically, as explained above, Zions has agreed to produce certain categories of
14   documents but not has not been able to complete the production for multiple reasons. First, regarding
15   the scope of transactional data for foreign transaction fees, Plaintiff has sought a variety of specific
16   information regarding each transaction. It has been necessary to identify and extract a subset of data
17   pursuant to discovery meet-and-confers with Plaintiff’s counsel to try and satisfy that request. This
18   data involves thousands of transactions and also involves confidential personal information of
19   individuals who are not party to this action or even within the putative class. Protecting the identities
20   of those individuals while identifying the responsive transactional information available to Zions has
21   required extensive efforts and taken more time than anticipated. Zions’s counsel was recently provided
22   the resulting transaction data and expects to produce it as soon as practicable.
23          14.     Additionally, identifying additional custodians for searches of Zions’s custodial
24   records has taken additional time because (a) Zions has multiple divisions operating different bank
25   branches in multiple states and (b) it has taken additional time to try to identify the best-suited
26   custodians from the various divisions that are most likely to have responsive records. Once identified,
27   preliminary searches using proposed search terms will be needed to address any burden issues before
28

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 1   the parties can agree to search terms and proceed with review and production of responsive custodial
 2   ESI. The parties have worked in earnest and continue to do so in the interests of advancing this dispute.
 3            15.      Because Plaintiff cannot move forward with depositions without a complete document
 4   production, the Parties require additional time to complete discovery.
 5            16.      The Parties’ request for an extension is further supported by the pendency of Plaintiff’s
 6   motion to remand (Dkt. No. 10) and Zions’ motion to dismiss (Dkt. No. 31), which may impact the
 7   scope of the class claims asserted by Plaintiff in this action, and therefore affect Plaintiff’s forthcoming
 8   class certification motion.
 9            17.      The Parties have not previously requested any extension or modification of deadlines
10   by this Court.
11   Proposed Schedule For Completing All Remaining Discovery
12            18.      Based on the foregoing, the Parties propose the below revised schedule for this matter:
13
      Event                                                                   Date
14
      Discovery Cut-off Date                                                  December 29, 2022
15
      Amending the Pleadings and Adding Parties                               September 28, 2022
16
      Fed. R. Civ. P. 26(a)(2)(D)(i) Disclosures (Experts)                    October 28, 2022
17
      Fed. R. Civ. P. 26(a)(2)(D)(ii) Disclosures (Rebuttal)                  November 28, 2022
18
      Deadline to file motion for class certification                         June 29, 2022
19

20    Deadline to file response to motion for class certification             August 28, 2022

21    Deadline to file reply in support of motion for class certification     October 13, 2022

22    Dispositive Motions                                                     January 28, 2023

23    Pretrial Order                                                          February 28, 2023

24   IT
      ITIS
         ISSO
            SOSTIPULATED
               ORDERED.
25          DATED:
     Dated: March 8, March
                     2022 7, 2022.                             DATED: March 7, 2022.
                                                                   Nancy J. Koppe
26                                                                 United States Magistrate Judge
27             /s/ Michael Hogue                               /s/ Jason H. Alperstein
               Michael Hogue, Esq.                             Jason H. Alperstein, Esq.
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